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DECLARATION OF MARY SZARMACH

1. My name is Mary Szarmach, and I am over the age of twenty-one, of sound
mind, and competent to execute this declaration.

2. I submit this declaration on behalf of The Cigarette Store LLC d/b/a Smoker
Friendly (“Smoker Friendly”), in support of plaintiffs’ motion for preliminary injunction.

3. I have personal knowledge of the facts set forth in this Declaration, or know
them in my capacity as senior vice president of Smoker Friendly, based on records that
Smoker Friendly keeps in the regular course of its business, and could and would
competently testify to them under oath if called as a witness.

4. Smoker Friendly is a limited liability company with its principal place of
business located in Boulder, Colorado.

5. Smoker Friendly operates close to 300 retail stores across thirteen states,
58 of which are in Arkansas, offering, among other things, low THC hemp extract
products to Arkansas consumers and businesses.

6. Smoker Friendly orders, transports, and ships hemp-derived cannabinoid
products like Delta-8 THC into and through Arkansas, either directly or through third-
party distributors.

7. As a result of Act 629, Smoker Friendly and its employees and members are
in jeopardy of criminal prosecution for possessing, shipping, transporting, packaging,
processing, and retailing low THC hemp extract products in Arkansas.

8. Specifically, under Act 629, Smoker Friendly’s employees face criminal
liability for transporting and shipping hemp products in Arkansas if they fail to
demonstrate the products were “in continuous transportation” and “produced in

accordance with 7 U.S.C. § 2016390 et seq.”

EXHIBIT

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9. Smoker Friendly’s investment is exposed and threatened as Act 629 would
render its inventory of hemp-derived products utterly worthless in Arkansas.

10. Smoker Friendly would be irreparably harmed unless Act 629 is enjoined.

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing
is true and accurate.

Executed on this 31°t day of July, 2023.

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Mary Sz@rmagh
Senior Vice af sent)
The Cigarette Store LLC d/b/a Smoker Friendly

